39 F.3d 1194
    NOTICE: Federal Circuit Local Rule 47.6(b) states that opinions and orders which are designated as not citable as precedent shall not be employed or cited as precedent.  This does not preclude assertion of issues of claim preclusion, issue preclusion, judicial estoppel, law of the case or the like based on a decision of the Court rendered in a nonprecedential opinion or order.David COCKRELL, Jr., Petitioner,v.DEPARTMENT OF VETERANS AFFAIRS, Respondent.
    No. 94-3380.
    United States Court of Appeals, Federal Circuit.
    Sept. 23, 1994.
    
      1
      63 M.S.P.R. 69.
    
    
      2
      PETITION REINSTATED.
    
    ORDER
    
      3
      Petitioner having submitted the required brief, and it appearing that the appeal was dismissed in error, it is ORDERED that the order of dismissal and the mandate be, and the same hereby are, VACATED and RECALLED, and the petition for review is REINSTATED.
    
    